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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA
 ___________________________________
                                     )
 KEISHANNA GEORGE,                   )
                                     )
                     Plaintiff,      ) Docket No. 2:24-cv-02854-JTM-DPC
        v.                           )
                                     ) District Judge:
 HOUSING AUTHORITY OF NEW            ) Hon. Jane Triche Milazzo
 ORLEANS,                            )
                                     ) Magistrate Judge:
                     Defendant.      ) Donna Phillips Currault
 ___________________________________

                               NOTICE OF SUBMISSION


      PLEASE TAKE NOTICE will be submitted to the Honorable Judge Jane Triche

Milazzo, United States Judge for the Eastern District of Louisiana, 500 Poydras Street,

New Orleans, LA 70130, on January 29, 2025, at 9:30 a.m.

                                         Respectfully submitted,

                                         SOUTHEAST LOUISIANA LEGAL SERVICES
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